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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   VICTOR M. CHAVEZ, Bar #113752
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
     Counsel for Defendant
 6   JESUS SEBASTIAN MATA
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )       No. 1:15-cr-00207-DAD-BAM-4
                                                   )
12                  Plaintiff,                     )       STIPULATION AND ORDER
                                                   )       TO CONTINUE SENTENCING HEARING
13                          v.                     )
                                                   )
14                                                 )
     JESUS SEBASTIAN MATA,                         )       DATE: July 9, 2018
15                                                 )       TIME: 10:00 a.m.
                    Defendant.                     )       JUDGE: Hon. Dale A. Drozd
16                                                 )
                                                   )
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19          IT IS HEREBY STIPULATED by and between the parties, through their respective
20   counsel, that the sentencing hearing now set for July 9, 2018, may be continued to August 27,
21   2018, at 10:00 a.m., the reason for this request is for additional time for defense preparation.
22                                                                 Respectfully submitted,
23                                                                 MCGREGOR W. SCOTT
                                                                   United States Attorney
24
25   DATED: July 5, 2018                                   By      /s/ Kimberly Sanchez
                                                                   KIMBERLY SANCHEZ
26                                                                 Assistant United States Attorney
                                                                   Attorney for Plaintiff
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 1                                                               HEATHER E. WILLIAMS
                                                                 Federal Defender
 2
 3   DATED: July 5, 2018                                   By    /s/ Victor M. Chavez
                                                                 VICTOR M. CHAVEZ
 4                                                               Assistant Federal Defender
                                                                 Attorney for Defendant
 5                                                               JESUS SEBASTIAN MATA
 6
 7
 8                                               ORDER
 9          The court has reviewed and considered the stipulation of the parties to continue the
10   sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named
11   defendant currently scheduled for July 9, 2018, is continued until August 27, 2018, at 10:00 a.m.
12   in courtroom 5 before District Judge Dale A. Drozd.
13
     IT IS SO ORDERED.
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15      Dated:     July 5, 2018
                                                         UNITED STATES DISTRICT JUDGE
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